     Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 1 of 57




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SIGMA DEVELOPMENT           §
CORPORATION,                §
    Plaintiff,              §
                            §
v.                          §                        CIVIL ACTION NO. 4:16-cv-02555
                            §
TGP SECURITIES, INC., BORIS §
EPSHTEYN AND JAMES TAMMARO, §
     Defendants.            §
                            §
                      PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE COURT:

       Plaintiff files this First Amended Petition subject to the Motion to Remand previously

filed. Plaintiff is filing this First Amended Petition to supplement the causes of action and does

not concede to jurisdiction in federal court and reserves the right to proceed with this complaint

in State Court. Plaintiff reserves the right to amend this petition should it be necessary at any

given time.

       The standard for determining if the plaintiff waived its right to seek remand is whether

the plaintiff’s affirmative conduct evidences an “unequivocal assent” to federal court jurisdiction

(see Fletcher v. Solomon, 2006 WL 3290399, at *2 (N.D. Cal. Nov. 13, 2006)). However, a

plaintiff does not necessarily waive its right to seek remand if it moves for remand before filing

the amended pleading and the amendment is made solely as a defensive maneuver in response to

a motion to dismiss (see Swanson v. U.S. Bank, N.A., 2011 WL 1584836, at *1, *2 (D. Utah Apr.

26, 2011); The Knit With v. Aurora Yarns, 2010 WL 844739, at *8-*9 (E.D. Pa. Mar. 11, 2010)

and Newport v. Dell Inc., 2008 WL 2705364, at *4 (D. Ariz. July 2, 2008)).




                                                                                                 1
     Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 2 of 57




       Plaintiff, SIGMA DEVELOPMENT CORPORATION, through its representative,

AZHAR CHAUDHARY LAW FIRM, P.C., at the time when the causes of action for this

Petition arose, was the sole legal representative of Sigma Development Corporation, a Texas

Corporation, and engaged in business transactions under the direct authority of Sigma

Corporation, complains of Defendants, TGP Securities, Inc., a New Jersey Corporation, Boris

Epshteyn and James Tammaro, and for cause of action shows:

                                     I.     Selection of Discovery Level

1. The Plaintiff is requesting a tailored discovery control plan under Level 3 of the Texas Rules

   of Civil Procedure.

                                     II.    Statement of Relief Sought

2. The Plaintiff seeks monetary relief of over $100,000.00. The damages sought are within the

   jurisdictional limits of the court.

                                  III.     Parties and Service of Citation

1. The Plaintiff is a Texas corporation a Texas corporation with its principal place of business

   located in Harris County, Texas, acting through its Principal and Director, attorney Azhar

   Chaudhary, who was and still is the legal representative of Sigma Development Corporation,

2. The Defendant Boris Epshteyn is an individual residing in the State of New York, and he

   may be served with service of process at his home, at the following address:

       155 W. 21st Street, Apartment 7G
       New York, New York 10011

3. Alternatively, said Defendant Boris Epshteyn may be served with service of process at his

   place of work which is the following address:

       TGP Securities, Inc.
       6 Glendale Road
       Summit, New Jersey 07901

                                                                                               2
     Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 3 of 57




4. The Defendant James Tammaro is an individual residing in the State of New Jersey, and he

   may be served with service of process at his home, at the following address:

       6 Glendale Road
       Summit, New Jersey 07901

5. Alternatively, said Defendant James Tammaro may be served with service of process at his

   place of work which is the following address:

       TGP Securities, Inc.
       6 Glendale Road
       Summit, New Jersey 07901

6. The Defendant TGP Securities, Inc. is a corporate entity, and said entity has its principal

   place of business in the State of New Jersey, and it may be served with service of process by

   serving its President, JAMES P. TAMMARO at the following address:

       TGP Securities, Inc.
       6 Glendale Road
       Summit, New Jersey 07901


                                     IV.    Jurisdiction and Venue

7. Jurisdiction is proper in the State of Texas Judicial District Courts because the subject matter

   and the amount of controversy are within the jurisdictional limits of the State of Texas

   Judicial District Courts. Venue is proper in Fort Bend County, Texas because a portion of the

   $100,000.00 at issue was wired from a bank located in Fort Bend County, Texas.

8. Texas Long-Arm Statute. Per the Texas Long-Arm Statute (Tex. Civ. Prac. & Rem. Code

   §17.042), the Plaintiff asserts that the State of Texas has personal jurisdiction over these

   Defendants Epshteyn and Tammaro due to one or more of the following:

       a. The Defendants were doing business in the State of Texas by entering or attempting

           to enter into an agreement with the Plaintiff, who was representing a Texas

                                                                                                 3
     Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 4 of 57




           corporation, and either party was to perform the agreement, or attempt to perform the

           agreement, in whole or in part in the State of Texas; and/or

       b. The Defendants committed a tort in whole or in part in the State of Texas.

9. The Texas Long-Arm Statute has broad “doing business” language which is intended to

   reach out for personal jurisdiction as far as the Federal Constitutional requirements of due

   process will allow; consequently, the Texas personal jurisdictional requirements are

   consistent with federal jurisdictional requirements.

10. Using the Federal Constitutional due process analysis, personal jurisdiction is achieved when

   the non-resident defendant has established minimum contacts with the State of Texas, and the

   establishing of jurisdiction complies with the traditional concept/belief of "fair play and

   substantial justice." See Moki Mac, 21 S.W.3d at 575, and See also Int’l Shoe Co. v.

   Washington, 326 U.S. 310, 316 (1945).

11. In this particular lawsuit, the Plaintiff asserts that the Defendants Epshteyn and Tammaro

   purposefully conducted activities in the State of Texas, and the causes of action arose from

   and/or were related to those contacts or activities.

12. In the case of Retamco Operating, Inc. v. Republic Drilling Co., 278 S.W.3d 333 (Tex.

   2009), the Texas Supreme Court stated the following:

       First, only the defendant's contacts with the forum are relevant, not the unilateral activity of another party
       or a third person. Second, the contacts relied upon must be purposeful rather than random, fortuitous, or
       attenuated. Thus, sellers who reach out beyond one state and create continuing relationships and obligations
       with citizens of another state are subjected to the jurisdiction of the latter in suits based on their activities.
       Finally, the defendant must seek some benefit, advantage or profit by availing itself of the jurisdiction.




                                                                                                                       4
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 5 of 57




            V.     Relationship of Parties, Defendants’ Contacts with the State of Texas,
                       Background and Defendants’ Material False Representations

13. On or about 11/21/2014 and 12/19/2014, the Plaintiff Azhar Chaudhary Law Firm, on behalf

   of Sigma Development Corporation, via its own bank account, tendered to the Defendants

   the total sum of $100,000.00, for the purpose of said Defendants to search and find investors

   for a real estate project that is being developed, outside of greater Houston, Texas.

14. In initial phone conferences with Defendants Epshteyn and Tammaro in the Fall of 2014 the

   project was discussed in much detail; in each of those discussions, the Plaintiff raised

   concerns regarding the potential difficulties of receiving sufficient funding for its project

   through the Defendants’ efforts and sources. It was only upon numerous representations and

   repeated assurances that Defendants had made to the Plaintiff, regarding Defendants’

   background, qualifications, and the strong prospect that the project would be funded through

   Defendants’ efforts, that the Plaintiff agreed to tender the total sum of $100,000.00 to the

   Defendants.

15. Plaintiff was informed that Epshteyn had received his legal education at Georgetown

   University Law Center in Washington, DC and that he was a finance attorney by profession,

   who maintained his law license in the state of New York. Furthermore, Defendant Epshteyn

   informed the Plaintiff he is a very successful investment banker who is duly licensed and

   registered with FINRA.

16. He supported this assertion by referencing previous employments in the finance industry;

   especially, at Milbank, Tweed, Hadley and McCloy where, according to the Defendant, he

   was part of the Finance practice and worked on a wide range of securities transactions,

   including bank finance and private placements.


                                                                                              5
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 6 of 57




17. Moreover, Defendant Epshteyn boasted further that he was a so-called Republican political

   analyst or strategist and because he had worked as a communications aide with the McCain-

   Palin campaign, he carried a lot of clout within the party. Defendant Epshteyn, suggested

   that the Plaintiff should Google him and watch his videos on YouTube. Defendant claimed

   that he was a regular guest on MSNBC, CNN, CNBC, Fox News, and radio programs

   nationwide and provided analysis on topics including political strategy, financial markets,

   international affairs, future elections, and party relations.

18. Defendant Epshteyn told the Plaintiff that when the timing is right, Mr. James Tammaro,

   President/Chief Executive Officer of his firm, who supervised Defendant Epshteyn’s action

   and who supposedly had decades of finance and investment banking experience with

   prominent firms, would step in. In the words of Defendant Epshteyn, once Mr. Tammaro

   would get involved with the effort, funding of the project was a “done deal.”

19. Immediately thereafter, Defendant Tammaro stepped in and together Defendants Epshteyn

   and Tammaro represented to the Plaintiff that they had the proper Securities licenses in order

   for them to conduct business in the State of Texas as well as with investors in New York

   area. They assured Plaintiff that they had all of the requisite credentials needed to secure

   funding in this real estate project that was going to be developed in the State of Texas.

20. Defendant Epshteyn via telephone conversations with Plaintiff, in an effort to reinforce

   certainty that the project would get funded, told the Plaintiff that since the he believed that

   the Plaintiff's project was so unique, because it was a mega theme park development in

   Houston, Texas, where there was no theme park like Florida and California’s Disney Parks,

   he knew just the investors which would fund the Plaintiff's project.




                                                                                                6
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 7 of 57




21. Subsequent to the initial discussions, Defendant Epshteyn assured the Plaintiff over the

   phone, that the real estate project had been discussed with several investors and that these

   supposed investors were willing and able to provide financing for the project. Defendants

   Epshteyn and Tammaro went to great lengths to assure the Plaintiff that they would get the

   Plaintiff’s project funded. To bolster his representations, Defendant Epshteyn assured the

   Plaintiff that he had already called upon his connections within the investment banking

   industry, including personal relationships with numerous investment banks, and activated his

   political clout to get the funding arranged. In addition, Defendants Epshteyn and Tammaro

   further boasted that they had just the right team, which had personal connections with

   commercial lenders, “family offices,” fund managers and international investors, within his

   investment firm (TGP Securities, Inc.).

22. Defendant Epshteyn represented on numerous occasions that he took directions from James

   Tammaro, and that Mr. Tammaro’s inputs and connections in the industry were extremely

   valuable to his efforts. Together, Defendants Epshteyn and Tammaro, during phone

   conferences, confirmed that they had already convinced very wealthy individual investors on

   the merits of this project. Therefore, they represented, that obtaining all necessary funding

   for the project was all but done, and it only needed Plaintiff’s decision to pay the upfront fee

   and enter into a contractual relationship.

23. Based on the above-mentioned representations and similar claims made by the Defendants,

   Plaintiff's interest level in pursuing the funding of the project with the Defendants was

   greatly boosted and Plaintiff expressed confidence in relying on the Defendants. As soon as

   the Plaintiff expressed its interest and seriousness in engaging the Defendants, Mr. Epshteyn

   informed the Plaintiff he did not think that there would be any issues. Plaintiff agreed and



                                                                                                 7
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 8 of 57




   waited while Defendant Epshteyn discussed the project with his team in order to get their

   approval.

24. On or about 11/7/2014, the Defendant Epshteyn confirmed his team’s approval to the

   Plaintiff via email. Subsequently, on or about 11/8/2014, in a follow up email Defendant

   Epshteyn told the Plaintiff that there would be an upfront fee for his services, upwards of

   $200,000.00, and that he would also require a 4% success fee at the backend.

25. When the Plaintiff brought up his reservations with Defendant Epshteyn regarding these

   terms, Defendant’s response was that these charges were routine for his services for raising

   similar amounts.    He further explained that the upfront fees were necessary for the

   “expenses” he was going to incur in order to get the project funded. He also highlighted the

   fact that his sources had already committed to funding the entire project through debt and

   equity components and that the only costs Plaintiff had were his upfront fees.

26. Based on supposed background, reputation, and experience of the Defendants, as presented

   by Defendant Epstehyn regarding himself and Mr. Tammaro, and especially the specific

   representations regarding this project made by the Defendants Epshteyn and Tammaro, the

   Plaintiff believed that the Defendants had the full capacity and willingness to get the project

   funded.

27. As stated above, on or about 11/21/2014 and 12/19/2014, the Plaintiff Sigma Development

   Corporation tendered to the Defendants Epshteyn and Tammaro the total sum of $100,000.00

   as payment for the services that Defendants promised to provide.

28. A proposed agreement was tendered by the Defendants Epshteyn and Tammaro for review

   and execution by the Plaintiff. The Defendants fully executed and signed the agreement;

   however, Plaintiff did not sign or execute the written agreement, because the Plaintiff did not



                                                                                                8
     Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 9 of 57




   find the representations made by the Defendants in the agreement that the funding was

   guaranteed. Accordingly, Plaintiff requested of the Defendants that the agreement be

   modified to reflect the representations, assurances and guarantees made regarding funding of

   the Plaintiff’s project which prompted ongoing (back-and-forth) discussions.            These

   discussions involved Defendants asking for more money in order to make the previously

   discussed and agreed upon covenants a part of the contract and Plaintiff’s insistence that no

   further payments would be made until the Defendants would agree to include the previously

   discussed covenants in the contract, as well as, concrete evidence of funding of Plaintiff's

   project.

29. In December of 2014, the Plaintiff inquired as to how things were progressing in terms of

   modifying the contract and obtaining investors. Defendant Epshteyn responded that he had

   been working on securing funding for the project and that Madison Capital was ready and

   willing to fund the project, and also that a Texas company called Mission Capital also was

   ready and willing to fund the project. Defendant’s response, as far as modifying the contract

   to reflect what he had represented to the Plaintiff, was that the Plaintiff would have to make

   additional payments in order for the contract to be modified.

30. In late January or early February of 2015, the Plaintiff made several more inquires as to how

   things were progressing, yet there was an ongoing refusal on the part of the Defendants

   Epshteyn and Tammaro to further discuss the progress until additional payments were made

   by the Plaintiff to the Defendants.

31. Plaintiff's again pleaded with the Defendants Epshteyn and Tammaro that it had already been

   discussed and agreed between the parties that any further (future) payments, in addition to

   the $100,000.00 already paid to the Defendants, would be contingent upon concrete evidence



                                                                                               9
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 10 of 57




   of funding of the project, such as: a letter of intent, term sheet or some other indication, such

   as a firm letter of commitment for financing of the project.

32. Plaintiff also expressed his concerns to the Defendants Epshteyn and Tammaro that: other

   than email, text and phone communication between the parties, Plaintiff had not seen any

   results. More specifically, Plaintiff told the Defendants that they had not shown them any

   evidence of real and tangible efforts with lenders or investors, which could corroborate

   Defendants’ representations and claims that they had contacted investors and had willing and

   able investors, with whom the project had been discussed and that these investors were

   committed to providing the funding needed for the project.

33. Plaintiff’s suggestions that the two parties should meet in person to facilitate further business

   dealings were completely rebuffed by Defendant Epshteyn, who often gave the excuse of

   being too preoccupied.

34. Most importantly, Plaintiff expressed their grave concern as to what the $100,000.00

   payment was being used for; especially, if the Defendants Epshteyn and Tammaro had shown

   no evidence of progress and that the Defendants could not possibly have spent $100,000.00

   of Plaintiff’s money on just phone calls to the investors. In addition, Plaintiff suggested to

   the Defendants that a description of the services and costs, if provided to the Plaintiff, would

   be very useful in understanding where the $100,000.00 were spent, if the money, as claimed

   by the Defendants, had already been spent, and why the Defendants needed more money, in

   addition to the $100,000.00 already paid. Therefore, a proper accounting statement would

   help allay any misunderstandings.

35. However, instead of addressing Plaintiff’s concerns, to the Plaintiff’s utter shock and

   disappointment, Defendants Epshteyn and Tammaro responded by reneging from ALL of



                                                                                                  10
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 11 of 57




   their previously made guarantees.              Despite the repeated and firm assurances and

   representations that they had arranged the funding for the project, Defendants were now

   suggesting to Plaintiff that there was no reason for Plaintiff to depend on the Defendants for

   the funding if further payments were not made to the Defendants and continued not providing

   any explanation of where and how the Plaintiff's $100,000.00 was spent. Instead, after the

   Plaintiff refused to send them more money, it was suggested to the Plaintiff that they should

   pursue other avenues for funding of their project.

36. In response, Plaintiff's in a letter addressed to Mr. Epshteyn, asked:

       If you do not feel confident about the funding of our project then why should we pour more money down
       the drain? More importantly, if you were never confident about funding of our project, you should not
       have taken our $100,000.00 upfront. After all, the idea behind sending you these huge advance payments
       ($100,000.00) was to see some results—we have not seen any.
37. In that same letter sent to the Defendants, Plaintiff asked:

       In the Investment Banking Contract sent to us, you are suggesting that we agree to a 4% commission upon
       funding. We are looking for a $100 million in funding—4% of that is 4 million dollars. We fail to
       comprehend why TGPS would be more interested in an additional $50,000 upfront instead of the 4 million
       dollars at the back end. Most lenders we have discussed our project with are telling us that no upfront
       payments are required—we would only be charged a percentage at funding. If you were even remotely
       confident about collecting the 4% commission ($4 million dollars) at funding, you could not possibly be
       more interested in any additional upfront payments when we have already paid you $100,000.00.
38. Ultimately, in February of 2015, the Plaintiff contacted Madison Capital directly in order to

   find out whether the Defendants Epshteyn and Tammaro had truly spoken to this entity about

   the project and whether Madison Capital was interested in investing in this real estate

   development. The response of Madison Capital was that it had no interest in such a project,

   and additionally, no one from TGP Securities, Inc. had contacted it about such a project.

39. After contacting Madison Capital, Plaintiff again requested that the money ($100,000.00) be

   returned to the Plaintiff by the Defendants, but the Defendants continued to refuse the return



                                                                                                           11
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 12 of 57




   the $100,000.00 and continued to claim that the money ($100,000.00) had already been

   spent.

                       VI.     First Cause of Action - Conversion of Property

40. Plaintiff re-alleges and incorporates by reference the allegations contained in foregoing

   paragraphs.

41. The elements of a claim for conversion of personal property are: (1) The Plaintiff owned,

   possessed, or had the right of immediate possession of the property; (2) The Defendant

   wrongfully exercised dominion or control over the property to the exclusion of and

   inconsistent with the Plaintiff's rights; (3) The Plaintiff demanded return of the property; and

   (4) The Defendant failed to return it. Ojeda v. Wal-Mart Stores, Inc., 956 S.W.2d 704, 707

   (Tex.App.-San Antonio 1997, pet. denied).

42. A Plaintiff must prove damages before recovery is allowed for conversion. Generally, the

   measure of damages for conversion is the fair market value of the property at the time and

   place of the conversion. Prewitt v. Branham, 643 S.W.2d 122, 123 (Tex.1982).

43. Here, the measure of damages for conversion would be the fair market value of $100,000 in

   cash, wired to the Defendants.

44. Damages for conversion are limited to the amount necessary to compensate the plaintiff for

   the actual losses proximately caused by the defendant's conversion. Multi-Moto Corp. v. ITT

   Commercial Fin. Corp., 806 S.W.2d 560, 566 (Tex.App.-Dallas 1990, writ denied).

45. In this case, at a minimum, the amount necessary to compensate the Plaintiff for the actual

   losses proximately caused by the Defendants’ (conversion) would be the $100,000 lost to the

   Defendants, because:




                                                                                                12
   Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 13 of 57




46. Defendants, and each one of them, engaged in conduct described above, directly or

   indirectly, in the unauthorized and wrongful assumption and exercise of dominion and

   control over the personal property of Plaintiff to the exclusion of, or inconsistent with, the

   Plaintiff’s rights.

       (1) Plaintiff, Sigma Development Corporation, owned, or had possession of the property

           ($100,000), or entitlement, or had the right to immediate possession of $100,000.00

           (property), namely: two fifty thousand dollars each payments made to the Defendants.

       (2) Plaintiff, Sigma, instructed Azhar Chaudhary Law Firm to make these payments, on

           behalf of Sigma, to the Defendants.

       (3) However, the first payment made to the Defendants, before Sigma was formed, was

           made through Sitywalk, which was credited by the Defendants to Sigma, towards the

           new contract between Sigma and the Defendants, terms of which contract were still

           being negotiated.

       (4) The second payment of $50,000 was made after the Sitywalk contract was mutually

           voided by the parties.

       (5) This second payment was credited towards the new contract, which was still being

           negotiated by the parties.

       (6) Both payments of $50,000 each made to the Defendants were made on behalf of

           Sigma by Azhar Chaudhary Law Firm, PC and the ($100,000), ultimately, belonged

           to Sigma.

       (7) Defendants, wrongfully, unlawfully and without authorization assumed and exercised

           control over the Plaintiff's property ($100,000.00) to the exclusion of, or inconsistent

           with, the Plaintiff’s rights as an owner.



                                                                                                 13
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 14 of 57




  (8) Defendants were not authorized to receive the two payments of fifty thousand dollars

     each, made on behalf of Sigma, with moneys owned by Sigma, because the

     Defendants induced the Plaintiff to make these payments under false pretenses,

     assurances and guarantees that these payments were being made towards Defendants

     efforts to raise funding for the Plaintiff’s project—as evident from the facts in section

     V, the Defendants never had any intentions of making any efforts to raise the fund, in

     fact, they engaged in an elaborate fraudulent scheme to deprive the Plaintiff of

     possession of the $100,000.

  (9) “Under Texas law, conversion is the wrongful exercise of dominion and control over

     another's property in violation of the property owner's rights.” ITT Commercial Fin.

     Corp. v. Bank of the W., 166 F.3d 295, 305 (5th Cir.1999) (citing Amarillo Nat'l Bank

     v. Komatsu Zenoah Am., Inc., 991 F.2d 273, 274 (5th Cir.1993); Tripp Vill. Joint

     Venture v. MBank Lincoln Ctr., N.A., 774 S.W.2d 746, 750 (Tex. App.—Dallas 1989,

     writ denied)); accord Mayo v. Hartford Life Ins. Co., 354 F.3d 400, 410 (5th

     Cir.2004);Carson v. Dynegy, Inc., 344 F.3d 446, 456 (5th Cir.2003); Johnson v.

     Brewer & Pritchard, P.C., 73 S.W.3d 193, 211 n. 44 (Tex.2002); Bandy v. First State

     Bank, 835 S.W.2d 609, 622 (Tex.1992).

  (10)   Here, the Defendants wrongfully exercised dominion and control over the

     Plaintiff’s property ($100,000), in violation of the Plaintiff’s ownership rights,

     because the two payments of $50,000 each were made to the Defendants for a

     specific purpose, to raise funds for the Plaintiff’s project, which the Defendants never

     had any intention to raise.




                                                                                            14
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 15 of 57




           (11)    The clear, unequivocal, understanding given to the Plaintiff by the Defendants

               was that the funds would be kept in safekeeping by the Defendants, indeed that the

               Defendants would segregate those funds, as they were required to do, under the rules

               promulgated by FINRA and NASD, regulations and standards Defendants were

               subject to, as broker dealers, “TGP is a New York-based investment banking firm,

               and Epshteyn and Tammaro are its principals.investments.” MTD ¶ 2(1),1 term used

               for the Defendants by their learned counsel to describing how Defendants made a

               living, as so-called professionals.

           (12)    “Texas jurisprudence holds that money can be the subject of conversion, but only

               when it is in the form of specific chattel, such as old coins, or when the money is

               delivered to another party for safekeeping, the keeper claims no title, and the money

               is required and intended to be segregated, either substantially in the form in which it

               was received or as an intact fund.” Mitchell Energy Corp. v. Samson Res. Co., 80

               F.3d 976, 984 (5th Cir.1996) (quoting Dixon v. State, 808 S.W.2d 721, 723

               (Tex.App.—Austin 1991, writ dism'd w.o.j.)); see Phippen v. Deere & Co., 965

               S.W.2d 713, 724 (Tex.App.—Texarkana 1998, no pet.); Newsome v. Charter Bank

               Colonial, 940 S.W.2d 157, 161 (Tex.App.—Houston [14th Dist.] 1996, writ denied)

               (citing Estate of Townes v. Townes, 867 S.W.2d 414, 419-20 (Tex. App.—Houston

               [14th Dist.] 1993, writ denied)); Edlund v. Bounds, 842 S.W.2d 719, 727

               (Tex.App.—Dallas 1992, writ denied).

           (13)    In this case, the Defendants couldn’t have claimed any title to the $100,000 of the

               Plaintiff’s money, because the Defendants were required to not claim any title to

               those funds, because they hadn’t done any work yet, as investments bankers, to earn
11
     For readability, citations to the Motion to Dismiss are abbreviated “MTD.”

                                                                                                     15
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 16 of 57




     title to those funds. Indeed, funds ($100,000) were delivered to the Defendants for

     safekeeping—the terms of the contract between Sigma and the Defendants were still

     being negotiated; resultantly, the Defendants couldn’t possibly have had any

     ownership rights to those funds—the Defendants were required to segregate the two

     payments of $50,000 each, substantially in the form in which it was received, as an

     intact fund.

  (14)   The Plaintiff claims that the under NASD and FINRA rules, the Defendants were

     required to keep an exact account of the funds transferred (for safekeeping) to the

     Defendants and that the funds should have been readily traceable—Defendants

     couldn’t have and indeed shouldn’t have comingled these funds.

  (15)   As explained above, Plaintiff expressed their grave concern as to what the

     $100,000.00 payment was being used for; especially, if the Defendants Epshteyn and

     Tammaro had shown no evidence of progress and that the Defendants could not

     possibly have spent $100,000.00 of Plaintiff’s money on just phone calls to the

     investors. In addition, Plaintiff suggested to the Defendants that a description of the

     services and costs, if provided to the Plaintiff, would be very useful in understanding

     where the $100,000.00 were spent, if the money, as claimed by the Defendants, had

     already been spent, and why the Defendants needed more money, in addition to the

     $100,000.00 already paid. Therefore, a proper accounting statement would help allay

     any misunderstandings.

  (16)   However, no such accounting or explanation was ever provided by the

     Defendants. Ultimately, Plaintiff demanded return of the property ($100,000.00) from




                                                                                           16
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 17 of 57




           the Defendants; and, yet, as explained above, (4) Defendants refused to, or failed to,

           return the property ($100,000).

                    VII.   Second Cause of Action - Negligent Misrepresentation

47. Plaintiff realleges and incorporates by reference the allegations contained in foregoing

   paragraphs. Defendants, and each one of them, engaged in conduct described above, directly

   or indirectly.

48. In order to prove negligent misrepresentation, a plaintiff must show that (1) the Defendants

   made a representation in the course of their business, or in a transaction in which they had a

   pecuniary interest; (2) the Defendants supplied “false information” for the guidance of

   Plaintiff in a business transaction (raising the funds for Plaintiff’s project); (3) the Defendant

   did not exercise reasonable care or competence in obtaining or communicating the

   information; and (4) the Plaintiff suffered a pecuniary loss by justifiably relying on the

   representation made by the Defendants. See Henry Schein, Inc. v. Stromboe, 102 S.W.3d

   675, 686 n. 24 (Tex. 2002) (citing Fed. Land Bank Ass’n v. Sloane, 825 S.W.2d 439, 442

   (Tex. 1991)).

49. Plaintiff claims:

       (1) Defendants provided information to the Plaintiff in the course of Defendants’

       business, or in a transaction in which the Defendants had a pecuniary interest;

       (2) Defendants supplied false information to the Plaintiff;

       (3) Defendants did not exercise reasonable care or competence in obtaining or

       communicating the information;

       (4) Plaintiff justifiably relied on the representation made by the Defendants; and




                                                                                                  17
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 18 of 57




       (5) Plaintiff suffered damages proximately caused by relying on the information provided

       by Defendants, Defendants’ negligent misrepresentation proximately caused Plaintiff's

       injury (loss of $100,000.00).

50. Further, Defendants’ act of contemplating false information in making negligent

   misrepresentations to the Plaintiff was a misstatement of existing fact, not a promise of future

   conduct.

51. The Defendants made oral representations to the Plaintiff including, but not limited to, the

   following untrue statements of material fact:

       (1) That the Defendants had discussed the Plaintiff's project with numerous lenders in

           New York and Texas and investments banks, when the Defendants had made no such

           efforts.

       (2) That the Defendants had arranged for funding through lenders he had prior

           interactions and relations with when in fact there were no lenders with whom the

           Defendants had made funding arrangements with.

       (3) In initial phone conferences with Defendants Epshteyn and Tammaro in the Fall of

           2014 the project was discussed in much detail; in each of those discussions, the

           Plaintiff raised concerns regarding the potential difficulties of receiving sufficient

           funding for its project through the Defendants’ efforts and sources. Defendants

           continued to represent that the funding for the project had been already discussed and

           arranged.

       (4) It was only upon numerous representations and repeated assurances that Defendants

           had made to the Plaintiff, regarding Defendants’ background, qualifications, and the

           strong prospect that the project would be funded through Defendants’ efforts, that the



                                                                                                18
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 19 of 57




     Plaintiff agreed to tender the total sum of $100,000.00 to the Defendants. Therefore,

     Defendants used their qualifications to manipulate Plaintiff into giving that money.

  (5) Plaintiff was informed that Epshteyn had received his legal education at Georgetown

     University Law Center in Washington, DC and that he was a finance attorney by

     profession, who maintained his law license in the state of New York. Furthermore,

     Defendant Epshteyn informed the Plaintiff he is a very successful investment banker

     who is duly licensed and registered with FINRA.

  (6) Defendant Epshteyn knowingly and deliberately tried to build up his credibility and

     so-called reputation with the Plaintiff so that he could succeed in the confidence game

     of depriving the Plaintiff of a $100,000.

  (7) In fact, the Defendants’ scheme was to continue to siphon off funds, under the guise

     of deceptive representation that funding has been arranged for the Plaintiff’s project,

     as the Defendants’ repeatedly asked for more money from the Plaintiff.

  (8) As an example, Epshteyn tried to support assertions that he was somewhat of a

     finance guru by referencing previous employments in the finance industry; especially,

     at Milbank, Tweed, Hadley and McCloy where, according to the Defendant, he was

     part of the Finance practice and worked on a wide range of securities transactions,

     including bank finance and private placements.

  (9) Defendant Epshteyn told the Plaintiff that when the timing is right, Mr. James

     Tammaro, President/Chief Executive Officer of his firm, who supervised Defendant

     Epshteyn’s action and who supposedly had decades of finance and investment

     banking experience with prominent firms, would step in. In the words of Defendant




                                                                                            19
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 20 of 57




     Epshteyn, once Mr. Tammaro would get involved with the effort, funding of the

     project was a “done deal.”

  (10)   Plaintiff relied on these assurances and tendered the $100,000 to Defendants,

     believing that substantial work was going to be done and the funding would be

     procured.

  (11)   Immediately thereafter, Defendant Tammaro stepped in and together Defendants

     Epshteyn and Tammaro represented to the Plaintiff that they had the proper Securities

     licenses in order for them to conduct business in the State of Texas as well as with

     investors in New York area. They assured Plaintiff that they had all of the requisite

     credentials needed to secure funding in this real estate project that was going to be

     developed in the State of Texas.

  (12)   Defendant Epshteyn via telephone conversations with Plaintiff, in an effort to

     reinforce certainty that the project would get funded, told the Plaintiff that since the

     he believed that the Plaintiff's project was so unique, because it was a mega theme

     park development in Houston, Texas, where there was no theme park like Florida and

     California’s Disney Parks, he knew just the investors which would fund the Plaintiff's

     project.

  (13)   Subsequent to the initial discussions, Defendant Epshteyn assured the Plaintiff

     over the phone, that the real estate project had been discussed with several investors

     and that these supposed investors were willing and able to provide financing for the

     project. Defendants Epshteyn and Tammaro went to great lengths to assure the

     Plaintiff that they would get the Plaintiff’s project funded.




                                                                                          20
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 21 of 57




  (14)   To bolster his representations, Defendant Epshteyn assured the Plaintiff that he

     had already called upon his connections within the investment banking industry,

     including personal relationships with numerous investment banks, and activated his

     political clout to get the funding arranged. In addition, Defendants Epshteyn and

     Tammaro further boasted that they had just the right team, which had personal

     connections with commercial lenders, “family offices,” fund managers and

     international investors, within his investment firm (TGP Securities, Inc.).

  (15)   Defendant Epshteyn represented on numerous occasions that he took directions

     from James Tammaro, and that Mr. Tammaro’s inputs and connections in the industry

     were extremely valuable to his efforts. Together, Defendants Epshteyn and Tammaro,

     during phone conferences, confirmed that they had already convinced very wealthy

     individual investors on the merits of this project. Therefore, they represented, that

     obtaining all necessary funding for the project was all but done, and it only needed

     Plaintiff’s decision to pay the upfront fee and enter into a contractual relationship.

  (16)   Based on the above-mentioned representations and similar claims made by the

     Defendants, Plaintiff's interest level in pursuing the funding of the project with the

     Defendants was greatly boosted and Plaintiff expressed confidence in relying on the

     Defendants.    As soon as the Plaintiff expressed its interest and seriousness in

     engaging the Defendants, Mr. Epshteyn informed the Plaintiff he did not think that

     there would be any issues. Plaintiff agreed and waited while Defendant Epshteyn

     discussed the project with his team in order to get their approval.

  (17)   On or about 11/7/2014, the Defendant Epshteyn confirmed his team’s approval to

     the Plaintiff via email. Subsequently, on or about 11/8/2014, in a follow up email



                                                                                              21
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 22 of 57




     Defendant Epshteyn told the Plaintiff that there would be an upfront fee for his

     services, upwards of $200,000.00, and that he would also require a 4% success fee at

     the backend.

  (18)   When the Plaintiff brought up his reservations with Defendant Epshteyn regarding

     these terms, Defendant’s response was that these charges were routine for his services

     for raising similar amounts. He further explained that the upfront fees were necessary

     for the “expenses” he was going to incur in order to get the project funded. He also

     highlighted the fact that his sources had already committed to funding the entire

     project through debt and equity components and that the only costs Plaintiff had were

     his upfront fees.

  (19)   Based on supposed background, reputation, and experience of the Defendants, as

     presented by Defendant Epstehyn regarding himself and Mr. Tammaro, and

     especially the specific representations regarding this project made by the Defendants

     Epshteyn and Tammaro, the Plaintiff believed that the Defendants had the full

     capacity and willingness to get the project funded.

  (20)   As stated above, on or about 11/21/2014 and 12/19/2014, the Plaintiff Sigma

     Development Corporation tendered to the Defendants Epshteyn and Tammaro the

     total sum of $100,000.00 as payment for the services that Defendants promised to

     provide.

  (21)   A proposed agreement was tendered by the Defendants Epshteyn and Tammaro

     for review and execution by the Plaintiff. The Defendants fully executed and signed

     the agreement; however, Plaintiff did not sign or execute the written agreement,




                                                                                        22
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 23 of 57




     because the Plaintiff did not find the representations made by the Defendants in the

     agreement that the funding was guaranteed.

  (22)   Accordingly, Plaintiff requested of the Defendants that the agreement be modified

     to reflect the representations, assurances and guarantees made regarding funding of

     the Plaintiff’s project which prompted ongoing (back-and-forth) discussions. These

     discussions involved Defendants asking for more money in order to make the

     previously discussed and agreed upon covenants a part of the contract and Plaintiff’s

     insistence that no further payments would be made until the Defendants would agree

     to include the previously discussed covenants in the contract, as well as, concrete

     evidence of funding of Plaintiff's project.

  (23)   In December of 2014, the Plaintiff inquired as to how things were progressing in

     terms of modifying the contract and obtaining investors.         Defendant Epshteyn

     responded that he had been working on securing funding for the project and that

     Madison Capital was ready and willing to fund the project, and also that a Texas

     company called “Mission Capital” also was ready and willing to fund the project.

     Defendant’s response, as far as modifying the contract to reflect what he had

     represented to the Plaintiff, was that the Plaintiff would have to make additional

     payments in order for the contract to be modified.

  (24)   In late January or early February of 2015, the Plaintiff made several more inquires

     as to how things were progressing, yet there was an ongoing refusal on the part of the

     Defendants Epshteyn and Tammaro to further discuss the progress until additional

     payments were made by the Plaintiff to the Defendants.




                                                                                         23
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 24 of 57




  (25)   Plaintiff's again pleaded with the Defendants Epshteyn and Tammaro that it had

     already been discussed and agreed between the parties that any further (future)

     payments, in addition to the $100,000.00 already paid to the Defendants, would be

     contingent upon concrete evidence of funding of the project, such as: a letter of intent,

     term sheet or some other indication, such as a firm letter of commitment for financing

     of the project.

  (26)   Plaintiff also expressed his concerns to the Defendants Epshteyn and Tammaro

     that: other than email, text and phone communication between the parties, Plaintiff

     had not seen any results. More specifically, Plaintiff told the Defendants that they

     had not shown them any evidence of real and tangible efforts with lenders or

     investors, which could corroborate Defendants’ representations and claims that they

     had contacted investors and had willing and able investors, with whom the project

     had been discussed and that these investors were committed to providing the funding

     needed for the project.

  (27)   Plaintiff’s suggestions that the two parties should meet in person to facilitate

     further business dealings were completely rebuffed by Defendant Epshteyn, who

     often gave the excuse of being too preoccupied.

  (28)   Most importantly, Plaintiff expressed their grave concern as to what the

     $100,000.00 payment was being used for; especially, if the Defendants Epshteyn and

     Tammaro had shown no evidence of progress and that the Defendants could not

     possibly have spent $100,000.00 of Plaintiff’s money on just phone calls to the

     investors. In addition, Plaintiff suggested to the Defendants that a description of the

     services and costs, if provided to the Plaintiff, would be very useful in understanding



                                                                                           24
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 25 of 57




          where the $100,000.00 were spent, if the money, as claimed by the Defendants, had

          already been spent, and why the Defendants needed more money, in addition to the

          $100,000.00 already paid. Therefore, a proper accounting statement would help allay

          any misunderstandings.

      (29)    However, instead of addressing Plaintiff’s concerns, to the Plaintiff’s utter shock

          and disappointment, Defendants Epshteyn and Tammaro responded by reneging from

          ALL of their previously made guarantees.

      (30)    Despite the repeated and firm assurances and representations that they had

          arranged the funding for the project, Defendants were now suggesting to Plaintiff that

          there was no reason for Plaintiff to depend on the Defendants for the funding if

          further payments were not made to the Defendants and continued not providing any

          explanation of where and how the Plaintiff's $100,000.00 was spent. Instead, after

          the Plaintiff refused to send them more money, it was suggested to the Plaintiff that

          they should pursue other avenues for funding of their project.

                 VIII.     Third Cause of Action - Fraudulent Misrepresentation

52. To prevail in a cause of action for fraud, one must provide sufficient evidence of the

   elements of fraud, which are (1) a material misrepresentation was made; (2) it was false; (3)

   when the representation was made, the speaker knew it was false or the statement was

   recklessly asserted without any knowledge of its truth; (4) the speaker made the false

   representation with the intent that it be acted on by the other party; (5) the other party acted

   in reliance on the misrepresentation; and (6) the party suffered injury as a result. Taylor Elec.

   Servs., Inc. v. Armstrong Elec. Supply Co., 167 S.W.3d 522, 526 (Tex. App.-Fort Worth




                                                                                                 25
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 26 of 57




   2005, no pet.) (citing DeSantis v. Wackenhut Corp., 793 S.W.2d 670, 688 (Tex. 1990)); see

   Grant Thornton LLP v. Prospect High Income Fund, 314 S.W.3d 913, 921 (Tex. 2010).

53. Plaintiff alleges that material representations were false, e.g., all of the material statements

   made by the Defendants, referred to in Section V of this petition, were false.

54. Plaintiff alleges that when the Defendants made representations, Defendants knew they were

   false or made them recklessly without any knowledge of truth and as positive assertions, e.g.

   when the Defendants made the statements referred to in Section V of this petition, the

   Defendants either knew they were false or made them recklessly without any knowledge of

   the truth, and made them as positive assertions.

55. Plaintiff alleges that Defendants made representations with intent that they should be acted

   on by Plaintiff, e.g., the Defendants made the statements referred to in Section V with the

   intent of inducing the Plaintiff to enter the transaction referred to in Section V.

56. Plaintiff alleges that the Plaintiff acted in reliance on representations, e.g., Relying on the

   Defendants’ statements referred to in Section V, the Plaintiff entered the transaction referred

   to in Section V, and the Plaintiff would not have entered the transaction but for the

   Defendants' statements.

57. A promise to do an act in the future is actionable fraud when made with the intention, design

   and purpose of deceiving, and with no intention of performing the act. Spoljaric v. Percival

   Tours, Inc., 708 S.W.2d 432, 434 (Tex. 1986). While a party's intent is determined at the

   time the party made the representation, it may be inferred from the party's subsequent acts

   after the representation is made. Id. Failure to perform, standing alone, is no evidence of the

   promissor’s intent not to perform when the promise was made. Id. at 435. However, that fact

   is a circumstance to be considered with other facts to establish intent. Id. Since intent to



                                                                                                   26
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 27 of 57




   defraud is not susceptible to direct proof, it invariably must be proven by circumstantial

   evidence. Id.“Slight circumstantial evidence of fraud,' when considered with the breach of

   promise to perform, is sufficient to support a finding of fraudulent intent.” Id. (quoting

   Maulding v. Niemeyer, 241 S.W.2d 733, 738 (Tex. Civ. App.-El Paso 1951, orig.

   proceeding)).

58. Plaintiff alleges that it suffered injury, at the time of the Defendants’ statements referred to in

   Section V and below, and at all subsequent times, continuing to the present, in that no

   funding had been arranged by the Defendants. This caused Plaintiff to have a pecuniary loss

   of $100,000.00.

59. Also, Plaintiff alleges that at the time of the Defendants’ statements referred to in Section V

   and below and at all subsequent times, continuing to the present, the Defendants had not

   contacted any lenders or investment banks and the Defendants did not know anyone who was

   willing and able to finance the Plaintiff's project.

60. As a result of the Defendants’ fraudulent misrepresentations, the Plaintiff has suffered

   damages in a sum within the jurisdictional limits of the court. Along the same lines, the

   Plaintiff further claims that special or consequential damages were incurred as proximate

   result of reliance on Defendants’ fraud, e.g. the economic loss sustained in the transaction

   described in Section V, is at least $100,000.00.

61. The Defendants made the false representations referred to in Section V with actual awareness

   of their falsity. As a result, the Defendants are liable for exemplary damages.

62. In addition, the Plaintiff is entitled to an award of reasonable and necessary attorney’s fees,

   expert witness fees, costs for copies of depositions and costs of court.

63. More specifically:



                                                                                                    27
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 28 of 57




64. Subsequent to the initial discussions, as explained in section V in detail, Defendant Epshteyn

   assured the Plaintiff over the phone, that the real estate project had been discussed with

   several investors and that these supposed investors were willing and able to provide

   financing for the project.

65. Defendants Epshteyn and Tammaro went to great lengths to assure the Plaintiff that they

   would get the Plaintiff’s project funded. To bolster his representations, Defendant Epshteyn

   assured the Plaintiff that he had already called upon his connections within the investment

   banking industry, including personal relationships with numerous investment banks, and

   activated his political clout to get the funding arranged.

66. In addition, Defendants Epshteyn and Tammaro further boasted that they had just the right

   team, which had personal connections with commercial lenders, “family offices,” fund

   managers and international investors, within his investment firm (TGP Securities, Inc.).

67. Defendant Epshteyn represented on numerous occasions that he took directions from James

   Tammaro, and that Mr. Tammaro’s inputs and connections in the industry were extremely

   valuable to his efforts. Together, Defendants Epshteyn and Tammaro, during phone

   conferences, confirmed that they had already convinced very wealthy individual investors on

   the merits of this project. Therefore, they represented, that obtaining all necessary funding

   for the project was all but done, and it only needed Plaintiff’s decision to pay the upfront fee

   and enter into a contractual relationship.

68. Based on the above-mentioned representations and similar claims made by the Defendants,

   Plaintiff's interest level in pursuing the funding of the project with the Defendants was

   greatly boosted and Plaintiff expressed confidence in relying on the Defendants.




                                                                                                28
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 29 of 57




69. As soon as the Plaintiff expressed its interest and seriousness in engaging the Defendants,

   Mr. Epshteyn informed the Plaintiff he did not think that there would be any issues. Plaintiff

   agreed and waited while Defendant Epshteyn discussed the project with his team in order to

   get their approval.

70. On or about 11/7/2014, the Defendant Epshteyn confirmed his team’s approval to the

   Plaintiff via email. Subsequently, on or about 11/8/2014, in a follow up email Defendant

   Epshteyn told the Plaintiff that there would be an upfront fee for his services, upwards of

   $200,000.00, and that he would also require a 4% success fee at the backend.

71. When the Plaintiff brought up his reservations with Defendant Epshteyn regarding these

   terms, Defendant’s response was that these charges were routine for his services for raising

   similar amounts.      He further explained that the upfront fees were necessary for the

   “expenses” he was going to incur in order to get the project funded. He also highlighted the

   fact that his sources had already committed to funding the entire project through debt and

   equity components and that the only costs Plaintiff had were his upfront fees.

72. Based on supposed background, reputation, and experience of the Defendants, as presented

   by Defendant Epstehyn regarding himself and Mr. Tammaro, and especially the specific

   representations regarding this project made by the Defendants Epshteyn and Tammaro, the

   Plaintiff believed that the Defendants had the full capacity and willingness to get the project

   funded.

73. As stated above, on or about 11/21/2014 and 12/19/2014, the Plaintiff Sigma Development

   Corporation tendered to the Defendants Epshteyn and Tammaro the total sum of $100,000.00

   as payment for the services that Defendants claimed had already been provided, because the

   Defendants claimed that the funding for the Plaintiff’s project had already been arranged.



                                                                                                29
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 30 of 57




         IX.     Fourth Cause of Action - Violations of Deceptive Trade Practices Act of the
                                    Texas Business & Commerce Code

74. Plaintiff realleges and incorporates by reference the allegations contained in foregoing

    paragraphs. Defendants, and each one of them, engaged in conduct described above, directly

    or indirectly.

75. Plaintiff claims:

        a. the Plaintiff is a consumer as defined by the Texas Deceptive Trade Practices Act

             (“DTPA”) and the DTPA is a protector for businesses, such as Sigma, making large

             transactions;

        b. Defendants can be sued under the DTPA,

        c. Defendants committed a wrongful act under the DTPA, and

        d.   Defendants' actions were a producing cause of the Plaintiff’s damages.

76. The representations violate subdivisions of Section 17.46 of the Deceptive Trade Practices

    Act in that they constitute representations that particular goods and services have certain

    qualities, uses or benefits when they did not and failing to disclose information about goods

    or services with the intent to induce Plaintiff to enter into a transaction that Plaintiff would

    not have entered into if the information had been disclosed.

77. Plaintiff claims that each Defendant violated a specific provision of the Act, and that the

    violation was a producing cause of the Plaintiff's injury.

78. Plaintiff further alleges that:

79. Defendants failed to disclose material information;

80. Defendants had knowledge of this material information at the time of the transaction;




                                                                                                 30
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 31 of 57




81. Defendants, through knowledge of this material information, which the Defendants failed to

   disclose, intended to induce the Plaintiff into the supposed funding of the project transaction;

   and

82. that Plaintiff otherwise would not have entered the transaction if the information had been

   disclosed.

83. Subsequent to the initial discussions, Defendant Epshteyn assured the Plaintiff over the

   phone, that the real estate project had been discussed with several investors and that these

   supposed investors were willing and able to provide financing for the project. Defendants

   Epshteyn and Tammaro went to great lengths to assure the Plaintiff that they would get the

   Plaintiff’s project funded.

84. To bolster his representations, Defendant Epshteyn assured the Plaintiff that he had already

   called upon his connections within the investment banking industry, including personal

   relationships with numerous investment banks, and activated his political clout to get the

   funding arranged. In addition, Defendants Epshteyn and Tammaro further boasted that they

   had just the right team, which had personal connections with commercial lenders, “family

   offices,” fund managers and international investors, within his investment firm (TGP

   Securities, Inc.).

85. Defendant Epshteyn represented on numerous occasions that he took directions from James

   Tammaro, and that Mr. Tammaro’s inputs and connections in the industry were extremely

   valuable to his efforts. Together, Defendants Epshteyn and Tammaro, during phone

   conferences, confirmed that they had already convinced very wealthy individual investors on

   the merits of this project. Therefore, they represented, that obtaining all necessary funding




                                                                                                31
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 32 of 57




   for the project was all but done, and it only needed Plaintiff’s decision to pay the upfront fee

   and enter into a contractual relationship.

86. Based on the above-mentioned representations and similar claims made by the Defendants,

   Plaintiff's interest level in pursuing the funding of the project with the Defendants was

   greatly boosted and Plaintiff expressed confidence in relying on the Defendants. As soon as

   the Plaintiff expressed its interest and seriousness in engaging the Defendants, Mr. Epshteyn

   informed the Plaintiff he did not think that there would be any issues. Plaintiff agreed and

   waited while Defendant Epshteyn discussed the project with his team in order to get their

   approval.

87. On or about 11/7/2014, the Defendant Epshteyn confirmed his team’s approval to the

   Plaintiff via email. Subsequently, on or about 11/8/2014, in a follow up email Defendant

   Epshteyn told the Plaintiff that there would be an upfront fee for his services, upwards of

   $200,000.00, and that he would also require a 4% success fee at the backend.

88. When the Plaintiff brought up his reservations with Defendant Epshteyn regarding these

   terms, Defendant’s response was that these charges were routine for his services for raising

   similar amounts.     He further explained that the upfront fees were necessary for the

   “expenses” he was going to incur in order to get the project funded. He also highlighted the

   fact that his sources had already committed to funding the entire project through debt and

   equity components and that the only costs Plaintiff had were his upfront fees.

89. Based on supposed background, reputation, and experience of the Defendants, as presented

   by Defendant Epstehyn regarding himself and Mr. Tammaro, and especially the specific

   representations regarding this project made by the Defendants Epshteyn and Tammaro, the




                                                                                                32
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 33 of 57




   Plaintiff believed that the Defendants had the full capacity and willingness to get the project

   funded.

90. As stated above, on or about 11/21/2014 and 12/19/2014, the Plaintiff Sigma Development

   Corporation tendered to the Defendants Epshteyn and Tammaro the total sum of $100,000.00

   as payment for the services that Defendants promised to provide.

91. Defendants’ representations, including those as described in this petition, were false,

   misleading and deceptive in that Defendants represented to Plaintiff that Defendants had

   arranged for the funding of the Plaintiff's project.

92. In addition, Defendants obtained the payment of $100,000.00 by designing and executing a

   scheme that induced Plaintiff into engaging and paying the Defendants for fraudulent

   services which the Defendants never had the capacity, resources, intentions or willingness to

   provide to the Plaintiff.

93. The purpose behind Defendants misleading and deceptive representations was to induce

   Plaintiff into making the initial $100,000.00 payments as well as further payments of at least

   $100,000.00 for services which the Defendants never intended to provide.

94. Defendants misrepresented to the Plaintiff that the funding for the project had already been

   arranged and that as soon as the Plaintiff were to make further payments to the Defendants,

   in addition to $100,000.00 already paid, the Plaintiff's project would be funded.

95. Defendants engaged in an unconscionable course of action by falsely representing to Plaintiff

   that Plaintiff's project would be funded. By such conduct, Defendants took advantage of

   Plaintiff's desire to have the Plaintiff's project funded to a grossly unfair degree. Plaintiff

   relied upon Defendants’ false and/or misleading representations to their detriment.




                                                                                               33
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 34 of 57




96. Defendants’ conduct as described above was a producing cause of Plaintiff’s economic

   damages. As a result of Defendants’ conduct, Plaintiff has suffered economic damages within

   the jurisdictional limits of this court.

97. Defendants’ conduct described above was committed knowingly and intentionally.

   Defendants were actually aware, at the time of the conduct of the falsity, deception, and

   unfairness of the conduct about which Plaintiff complains.

98. As a direct result of Defendants’ knowing and intentional misconduct, Plaintiff suffered

   mental anguish. In particular, Plaintiff suffered depression, intense feelings of humiliation,

   and belittlement, an abnormal sense of inferiority and accompanying panic attacks, as well as

   the loss of appetite and sleep.

99. More specifically:

           (1) made material representations to the Plaintiff. Defendants’ representations that

               funding was a “done deal” and that Defendants had lined up a number of solid

               funding sources was material to the success of the business venture Plaintiffs

               required funding for;

           (2) representations made by Defendants were false. The material representations,

               regarding the status of the funding through a number of allegedly “solid sources”

               made by Defendants’ were false, because when the Plaintiff inquired, by placing a

               phone call to Madison Capital, as to the status of funding progress with Madison

               Capital for Plaintiff’s project, the Plaintiff was informed that the Defendants’ had

               made no contacts with Madison Capital regarding the funding of the Plaintiff’s

               project. In fact, Plaintiff was advised that Madison Capital hadn’t even heard of

               the Defendants. In addition, Madison Capital explained to the Plaintiff that the



                                                                                                34
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 35 of 57




        way it was set up regarding potential projects they might be interested in, Texas

        did not fall within that model—they were mainly interested in local New York

        City business ventures;

     (3) when the Defendants made representation to Plaintiff, the Defendants knew they

        were making false representations and made these representations recklessly

        without any knowledge of the truth and Defendants made these representation as a

        positive assertion, because when the Defendants claimed, on behalf of Madison

        Capital that they were interested in Plaintiff’s project, they never bothered to

        research or inquire with Madison Capital whether they would even be interested

        in a project located outside of New York City—all they had to do was call

        Madison Capital, or research the ongoing projects Madison Capital was involved

        in to see whether they are an entity which funds projects located in the Southern

        Unites States;

     (4) Defendants made these representations with the intent that the Plaintiff should act

        upon these representations, Defendants did so because they wanted the Plaintiff to

        get even deeper involved with their project; specifically, with the purchase of the

        land parcels, so that the Plaintiff would feel pressured to continue to make

        additional payments to the Defendants, in hopes of getting the project funded;

        especially, because of increasing difficulties to walk away from the project, since

        the Plaintiff would have been committed to purchasing the land parcels;

     (5) Plaintiff acted in reliance on the representations made by the Defendants, because

        based on the representations made by the Defendants, Plaintiff continued to spend




                                                                                         35
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 36 of 57




                time and funds on the project, feeling confident due to the representations made

                by the Defendants that the project’s funding was a “done deal;”

            (6) Plaintiff suffered injury as a result, because Plaintiff lost a hundred thousand

                dollars to the Defendants and suffered addition financial losses due to the failure

                of the project Plaintiff had spent time and money on.

            (7) That the Defendants had discussed the Plaintiff's project with numerous lenders in

                New York and Texas and investments banks, when the Defendants had made no

                such efforts.

            (8) That the Defendants had arranged for funding through lenders he had prior

                interactions and relations with when in fact there were no lenders with whom the

                Defendants had made funding arrangements with.

            (9) In initial phone conferences with Defendants Epshteyn and Tammaro in the Fall

                of 2014 the project was discussed in much detail; in each of those discussions, the

                Plaintiff raised concerns regarding the potential difficulties of receiving sufficient

                funding for its project through the Defendants’ efforts and sources.

100.     Accordingly, Defendants are liable to Plaintiff for mental anguish damages and additional

   damages of up to three times the amount of economic damages as permitted by the Deceptive

   Trade Practices Act.

                            X.    Sixth Cause of Action - Common Law Fraud

101.     Plaintiff realleges and incorporates by reference the allegations contained in foregoing

   paragraphs. Defendants, and each one of them, engaged in conduct described above, directly

   or indirectly.




                                                                                                   36
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 37 of 57




102.     “Fraud is the successful employment of cunning, deception or artifice to circumvent,

   cheat, or defraud another to his or her injury.” International Life Ins. Co. v. Herbert, 334

   S.W. 2d 525, 530 (Tex. Civ. App. -Waco 1960, writ ref'd., n.r.e.).

103.     A misrepresentation made knowingly or recklessly concerning a material fact, which is

   communicated with the intention of inducing a party to rely on it, and which is, in fact, relied

   on by that party to his or her detriment or injury, is fraudulent. See Stone v. Lawyer's Title

   Ins. Corp., 554 S. W. 2d 183, 185 (Tex. 1977); Oil Well Division, US. Steel Corp. v. Fryer,

   493 S.W. 2d 487, 491 (Tex. 1973); Custom Leasing v. Texas Bank & Trust Co. of Dallas,

   516 S.W. 2d 138, 142-143 (Tex. 1974).

104.     “A false representation of a past or present material fact, when one has a duty to speak

   the truth, is, of course, a frequent ground for recovery in fraud when another relies thereon to

   his detriment.” Chien v. Chen, 759 S.W.2d 484, 494-95 (Tex. App. - Austin 1988, no writ).

   Fraud is also accomplished from artifice and concealment, such as indirect or misleading

   language, which induces another person to rely on false information to the person's detriment

   or injury. Campbell v. Booth, 526 S.W. 2d 167, 169 (Tex. Civ. App. - Dallas 1975, writ

   ref’d., n.r.e.). Circumstantial evidence of fraud, when considered with the breach of a

   promise to perform, is sufficient to support a finding of fraudulent intent. Columbia/HCA

   Healthcare Corp. v. Cottey, 72 S.W. 3d 735,745 (Tex. App. -Waco 2002, no pet. h.).

105.     “Common law fraud includes both ‘actual’ and ‘constructive fraud.” Chien v. Chen, 759

   S. W.2d 484, 494-95. Generally, common law fraud consists of the following elements: (1) a

   material misrepresentation was made; (2) it was false; (3) when the representation was made,

   the defendant knew it was false or such representation was made recklessly without any

   knowledge of its truth and as a positive assertion; (4) the defendant made the representation



                                                                                                37
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 38 of 57




   with the intent that it should be acted upon by the Plaintiff; (5) the Plaintiff acted in reliance

   on the representation; and (6) the Plaintiff thereby suffered injury. De Santis v. Wachenhut

   Corp., 793 S.W. 2d 670, 688 (Tex. 1990); Stone v. Lawyer's Title Ins. Corp., 554 S.W. 2d

   183, 185 (Tex. 1977).

106.     Common law fraud encompasses outright falsities, as well as material omissions and

   half-truths.      In a situation “where a person voluntarily discloses information, he must

   disclose the whole truth.” Newby v. Enron Corp. 540 F. Supp. 759, 771 (S.D. Tex. 2007). See

   also Hendricks v. Thorton Int'l, 973 S. W.2d 348, 363 (Tex. App. - Beaumont, 1998);

   Schlumberger Technology Corp. v. Swanson, 959 S.W.2d 171, 181 (Tex. 1997) (observing

   that a “non-disclosure may be as misleading as a positive misrepresentation of facts”). “The

   maker of a false representation need not, in every instance, know it is false for the statement

   to form the basis for actionable fraud.” Wright v. Carpenter, 579 S. W.2d 575,579 (Tex. Civ.

   App. 1979, writ denied). “[R]escission has long been a remedy for common law fraud.”

   Sandefer, 58 S. W. 3d 760, 773 (Tex. Civ. App. - Houston [1st Dist.] 2001), quoting Adickes

   v. Andreali, 600 S. W. 2d 939, 945-47 (Tex. Civ. App. - Houston [1st Dist.] 1980, writ

   dism’d).

107.     Plaintiff alleges that Defendants:

            (1) made material representations to the Plaintiff. Defendants’ representations that

                  funding was a “done deal” and that Defendants had lined up a number of solid

                  funding sources was material to the success of the business venture Plaintiffs

                  required funding for;

            (2) representations made by Defendants were false. The material representations,

                  regarding the status of the funding through a number of allegedly “solid sources”



                                                                                                  38
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 39 of 57




        made by Defendants’ were false, because when the Plaintiff inquired, by placing a

        phone call to Madison Capital, as to the status of funding progress with Madison

        Capital for Plaintiff’s project, the Plaintiff was informed that the Defendants’ had

        made no contacts with Madison Capital regarding the funding of the Plaintiff’s

        project. In fact, Plaintiff was advised that Madison Capital hadn’t even heard of

        the Defendants. In addition, Madison Capital explained to the Plaintiff that the

        way it was set up regarding potential projects they might be interested in, Texas

        did not fall within that model—they were mainly interested in local New York

        City business ventures;

     (3) when the Defendants made representation to Plaintiff, the Defendants knew they

        were making false representations and made these representations recklessly

        without any knowledge of the truth and Defendants made these representation as a

        positive assertion, because when the Defendants claimed, on behalf of Madison

        Capital that they were interested in Plaintiff’s project, they never bothered to

        research or inquire with Madison Capital whether they would even be interested

        in a project located outside of New York City—all they had to do was call

        Madison Capital, or research the ongoing projects Madison Capital was involved

        in to see whether they are an entity which funds projects located in the Southern

        Unites States;

     (4) Defendants made these representations with the intent that the Plaintiff should act

        upon these representations, Defendants did so because they wanted the Plaintiff to

        get even deeper involved with their project; specifically, with the purchase of the

        land parcels, so that the Plaintiff would feel pressured to continue to make



                                                                                         39
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 40 of 57




        additional payments to the Defendants, in hopes of getting the project funded;

        especially, because of increasing difficulties to walk away from the project, since

        the Plaintiff would have been committed to purchasing the land parcels;

     (5) Plaintiff acted in reliance on the representations made by the Defendants, because

        based on the representations made by the Defendants, Plaintiff continued to spend

        time and funds on the project, feeling confident due to the representations made

        by the Defendants that the project’s funding was a “done deal;”

     (6) Plaintiff suffered injury as a result, because Plaintiff lost a hundred thousand

        dollars to the Defendants and suffered addition financial losses due to the failure

        of the project Plaintiff had spent time and money on.

     (7) That the Defendants had discussed the Plaintiff's project with numerous lenders in

        New York and Texas and investments banks, when the Defendants had made no

        such efforts.

     (8) That the Defendants had arranged for funding through lenders he had prior

        interactions and relations with when in fact there were no lenders with whom the

        Defendants had made funding arrangements with.

     (9) In initial phone conferences with Defendants Epshteyn and Tammaro in the Fall

        of 2014 the project was discussed in much detail; in each of those discussions, the

        Plaintiff raised concerns regarding the potential difficulties of receiving sufficient

        funding for its project through the Defendants’ efforts and sources.

                XI.     Seventh Cause of Action– Fraudulent Inducement




                                                                                           40
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 41 of 57




108.     Plaintiff realleges and incorporates by reference the allegations contained in foregoing

   paragraphs. Defendants, and each one of them, engaged in conduct described above, directly

   or indirectly.

109.     Plaintiff claims that:

             (1) that Defendants made material misrepresentations;

             (2) that Defendants knew to be false when they were made, or that Defendants made

                 them recklessly without any knowledge of their truth and as a positive assertion;

             (3) with the intent that Plaintiff would act upon it, and

             (4) that Plaintiff acted in reliance on the misrepresentation, and

             (5) Plaintiff suffered injury thereby. That the Defendants had discussed the Plaintiff's

                 project with numerous lenders in New York and Texas and investments banks,

                 when the Defendants had made no such efforts.

             (6) That the Defendants had arranged for funding through lenders he had prior

                 interactions and relations with when in fact there were no lenders with whom the

                 Defendants had made funding arrangements with.

             (7) In initial phone conferences with Defendants Epshteyn and Tammaro in the Fall

                 of 2014 the project was discussed in much detail; in each of those discussions, the

                 Plaintiff raised concerns regarding the potential difficulties of receiving sufficient

                 funding for its project through the Defendants’ efforts and sources.

             (8) It was only upon numerous representations and repeated assurances that

                 Defendants had made to the Plaintiff, regarding Defendants’ background,

                 qualifications, and the strong prospect that the project would be funded through




                                                                                                    41
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 42 of 57




        Defendants’ efforts, that the Plaintiff agreed to tender the total sum of

        $100,000.00 to the Defendants.

     (9) Defendants were not authorized to receive the two payments of fifty thousand

        dollars each, made on behalf of Sigma, with moneys owned by Sigma, because

        the Defendants induced the Plaintiff to make these payments under false

        pretenses, assurances and guarantees that these payments were being made

        towards Defendants efforts to raise funding for the Plaintiff’s project—as evident

        from the facts in section V, the Defendants never had any intentions of making

        any efforts to raise the fund, in fact, they engaged in an elaborate fraudulent

        scheme to deprive the Plaintiff of possession of the $100,000.

     (10)       Defendant Epshteyn told the Plaintiff that when the timing is right, Mr.

        James Tammaro, President/Chief Executive Officer of his firm, who supervised

        Defendant Epshteyn’s action and who supposedly had decades of finance and

        investment banking experience with prominent firms, would step in. In the words

        of Defendant Epshteyn, once Mr. Tammaro would get involved with the effort,

        funding of the project was a “done deal.”

     (11)       Defendant Epshteyn via telephone conversations with Plaintiff, in an effort

        to reinforce certainty that the project would get funded, told the Plaintiff that since

        the he believed that the Plaintiff's project was so unique, because it was a mega

        theme park development in Houston, Texas, where there was no theme park like

        Florida and California’s Disney Parks, he knew just the investors which would

        fund the Plaintiff's project.




                                                                                            42
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 43 of 57




     (12)        Subsequent to the initial discussions, Defendant Epshteyn assured the

        Plaintiff over the phone, that the real estate project had been discussed with

        several investors and that these supposed investors were willing and able to

        provide financing for the project. Defendants Epshteyn and Tammaro went to

        great lengths to assure the Plaintiff that they would get the Plaintiff’s project

        funded. To bolster his representations, Defendant Epshteyn assured the Plaintiff

        that he had already called upon his connections within the investment banking

        industry, including personal relationships with numerous investment banks, and

        activated his political clout to get the funding arranged. In addition, Defendants

        Epshteyn and Tammaro further boasted that they had just the right team, which

        had personal connections with commercial lenders, “family offices,” fund

        managers and international investors, within his investment firm (TGP Securities,

        Inc.).

     (13)        Based on the above-mentioned representations and similar claims made by

        the Defendants, Plaintiff's interest level in pursuing the funding of the project with

        the Defendants was greatly boosted and Plaintiff expressed confidence in relying

        on the Defendants. As soon as the Plaintiff expressed its interest and seriousness

        in engaging the Defendants, Mr. Epshteyn informed the Plaintiff he did not think

        that there would be any issues. Plaintiff agreed and waited while Defendant

        Epshteyn discussed the project with his team in order to get their approval.

     (14)        On or about 11/7/2014, the Defendant Epshteyn confirmed his team’s

        approval to the Plaintiff via email. Subsequently, on or about 11/8/2014, in a

        follow up email Defendant Epshteyn told the Plaintiff that there would be an



                                                                                           43
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 44 of 57




        upfront fee for his services, upwards of $200,000.00, and that he would also

        require a 4% success fee at the backend.

     (15)      When the Plaintiff brought up his reservations with Defendant Epshteyn

        regarding these terms, Defendant’s response was that these charges were routine

        for his services for raising similar amounts. He further explained that the upfront

        fees were necessary for the “expenses” he was going to incur in order to get the

        project funded.    He also highlighted the fact that his sources had already

        committed to funding the entire project through debt and equity components and

        that the only costs Plaintiff had were his upfront fees.

     (16)      Based on supposed background, reputation, and experience of the

        Defendants, as presented by Defendant Epstehyn regarding himself and Mr.

        Tammaro, and especially the specific representations regarding this project made

        by the Defendants Epshteyn and Tammaro, the Plaintiff believed that the

        Defendants had the full capacity and willingness to get the project funded.

     (17)      A proposed agreement was tendered by the Defendants Epshteyn and

        Tammaro for review and execution by the Plaintiff.          The Defendants fully

        executed and signed the agreement; however, Plaintiff did not sign or execute the

        written agreement, because the Plaintiff did not find the representations made by

        the Defendants in the agreement that the funding was guaranteed. Accordingly,

        Plaintiff requested of the Defendants that the agreement be modified to reflect the

        representations, assurances and guarantees made regarding funding of the

        Plaintiff’s project which prompted ongoing (back-and-forth) discussions. These

        discussions involved Defendants asking for more money in order to make the



                                                                                        44
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 45 of 57




        previously discussed and agreed upon covenants a part of the contract and

        Plaintiff’s insistence that no further payments would be made until the Defendants

        would agree to include the previously discussed covenants in the contract, as well

        as, concrete evidence of funding of Plaintiff's project.

     (18)      In December of 2014, the Plaintiff inquired as to how things were

        progressing in terms of modifying the contract and obtaining investors.

        Defendant Epshteyn responded that he had been working on securing funding for

        the project and that Madison Capital was ready and willing to fund the project,

        and also that a Texas company called Mission Capital also was ready and willing

        to fund the project. Defendant’s response, as far as modifying the contract to

        reflect what he had represented to the Plaintiff, was that the Plaintiff would have

        to make additional payments in order for the contract to be modified.

     (19)      In late January or early February of 2015, the Plaintiff made several more

        inquires as to how things were progressing, yet there was an ongoing refusal on

        the part of the Defendants Epshteyn and Tammaro to further discuss the progress

        until additional payments were made by the Plaintiff to the Defendants.

     (20)      Plaintiff also expressed his concerns to the Defendants Epshteyn and

        Tammaro that: other than email, text and phone communication between the

        parties, Plaintiff had not seen any results. More specifically, Plaintiff told the

        Defendants that they had not shown them any evidence of real and tangible efforts

        with lenders or investors, which could corroborate Defendants’ representations

        and claims that they had contacted investors and had willing and able investors,




                                                                                        45
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 46 of 57




        with whom the project had been discussed and that these investors were

        committed to providing the funding needed for the project.

     (21)          Most importantly, Plaintiff expressed their grave concern as to what the

        $100,000.00 payment was being used for; especially, if the Defendants Epshteyn

        and Tammaro had shown no evidence of progress and that the Defendants could

        not possibly have spent $100,000.00 of Plaintiff’s money on just phone calls to

        the investors. In addition, Plaintiff suggested to the Defendants that a description

        of the services and costs, if provided to the Plaintiff, would be very useful in

        understanding where the $100,000.00 were spent, if the money, as claimed by the

        Defendants, had already been spent, and why the Defendants needed more money,

        in addition to the $100,000.00 already paid. Therefore, a proper accounting

        statement would help allay any misunderstandings.

     (22)          However, instead of addressing Plaintiff’s concerns, to the Plaintiff’s utter

        shock and disappointment, Defendants Epshteyn and Tammaro responded by

        reneging from ALL of their previously made guarantees. Despite the repeated

        and firm assurances and representations that they had arranged the funding for the

        project, Defendants were now suggesting to Plaintiff that there was no reason for

        Plaintiff to depend on the Defendants for the funding if further payments were not

        made to the Defendants and continued not providing any explanation of where

        and how the Plaintiff's $100,000.00 was spent. Instead, after the Plaintiff refused

        to send them more money, it was suggested to the Plaintiff that they should

        pursue other avenues for funding of their project.

            XII.     Eighth Cause of Action - Breach of Fiduciary Relationship



                                                                                             46
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 47 of 57




110.     Plaintiff realleges and incorporates by reference the allegations contained in foregoing

   paragraphs. Defendants, and each one of them, engaged in conduct described above, directly

   or indirectly.

111.     Plaintiff alleges that:

             (1) fiduciary duty relationship existed between the Plaintiff and Defendants;

             (2) Defendants breached this duty owed to the Plaintiff; and

             (3) breach resulted in injury to the Plaintiff and benefit to the Defendants.

             (4) Defendants Epshteyn and Tammaro acted on behalf of TGP, however, they also

                 acted in their individual capacities as well. Under the Financial Industry

                 Regulatory Authority (“FINRA”), Defendants owed a fiduciary responsibility to

                 their client Sigma and when Sigma asked for an accounting they refused to offer

                 an accounting and cited their “countless discussions” as “results,”

             (5) Furthermore, Defendant Epshteyn told Plaintiff that they should seek funding

                 elsewhere, resorting to a tactic of threat.

             (6) Defendants were not working in the best interests of their client, Sigma, breaching

                 the fiduciary duty they owed to Plaintiff. Furthermore, Defendants acted ultra

                 vires when they refused to give Plaintiff an accounting of what they had spent the

                 money they had paid on.

             (7) Furthermore, Plaintiffs in good faith entrusted the large sum of $100,000 for

                 Defendants to procure results with regard to the investment banking, but the

                 $100,000 was apparently utilized for phone calls and emails, and to no avail for

                 procuring funds. This $100,000 advance payment was not unconditional.




                                                                                                 47
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 48 of 57




                CAUSES OF ACTION ARISING UNDER TEXAS SECURITIES ACT

112.     Texas courts have frequently looked to federal courts for guidance on the interpretation

   of the term “security.” See Caldwell v. State, 95 S.W.3d 563, 566. On a federal level, the

   U.S. Supreme Court has made it clear that “Congress’ purpose in enacting the securities laws

   was to regulate investments, in whatever form they are made and by whatever name they are

   called” (emphasis in original). SEC v. Edwards, 540 U.S. 389, 393 (2004), quoting Reves v.

   Ernst & Young, 494 U.S. 56, 61 (1990). With an eye toward achieving that objective,

   Congress “enacted a broad definition of ‘security,’ sufficient ‘to encompass virtually any

   instrument that might be sold as an investment.’” Id. As such, it is essential that the securities

   laws be applied so as to allow for the “economic realities” to take precedence over matters of

   form. See United Housing Foundation, Inc. v. Forman, 421 U.S. 837, 848 (1975).

        XIII.   Ninth Cause of Action - Offer and Sale of Securities by an
                   Unregistered Broker or Dealer Violation of§12(A) of the TSA

113.     Plaintiff realleges and incorporates by reference the allegations contained in foregoing

   paragraphs.

114.     Section 12A of the Texas Securities Act imposes registration requirements upon agents

   who work on behalf of dealers, as well as dealers which employ such agents. The segment of

   Section 12A that imposes a registration requirement on agents provides as follows: “No

   agent shall, in behalf of any dealer, sell, offer for sale, or make sale of any securities within

   the state unless registered as an agent for that particular registered dealer under the provisions

   of the Texas Securities Act.” With respect to dealers, the pertinent language specifies that, in

   the, absence of an exemption, “no…dealer shall, directly or through agents, offer for sale,

   sell or make a sale of any securities in this state without first being registered as in this Act

   provided.” Tex. Rev. Civ. Stat. Ann. Art. 581-12A.

                                                                                                  48
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 49 of 57




115.     “Texas has a strong interest in regulating the sale of securities in and from the state.”

   Citizens Ins. Co. of Am. v. Daccah, 217 S.W.3d 430, 440 (Tex. 2007). The registration

   requirements embodied within Section 12 “indemnify investors victimized by violations of

   the Texas Securities Act, encourages compliance with its regulatory and disclosure

   provisions, creates an incentive for its private enforcement, and guards the integrity of the

   state’s securities industry by protecting resident sellers who operate in compliance with the

   law.” Id.

116.     During the time period in which Defendants Epshteyn and Tammaro attempted to induce

   the purchase and sale of securities to Plaintiff, Defendants Epshteyn and Tammaro were not

   registered as agents with the Texas State Securities Board; and they did not effect the

   attempted sale of those securities on behalf of any dealer which was so registered. In that

   regard, TGP Securities, Inc. was not registered as a dealer with the Texas State Securities

   Board. Consequently, the conduct in which Defendants Epshteyn and Tammaro engaged,

   wherein they attempted to induce the purchase and sale of securities to Plaintiff, violated

   Section 12 of the Texas Securities Act.

117.     Recognizing that Defendants Epshteyn and Tammaro effected the inducement of sales

   and purchases of securities to the Plaintiff even though they were not acting on behalf of a

   registered dealer, and notwithstanding their failure to register as an agent under the Texas

   Securities Act; and even though TGP Securities, Inc. was not then registered with the Texas

   Securities Board, Defendants Epshteyn and Tammaro are liable to the Plaintiff under Section

   33A(1) of the Texas Securities Act. As set forth in that provision, “[a] person who offers or

   sells a security in violation of Section … 12 … of this Act is liable to the person buying the




                                                                                               49
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 50 of 57




   security from him, who may sue either at law or in equity for rescission or for damages if the

   buyer no longer owns the security.” Tex. Rev. Civ. Stat. Ann. Art. 581-33(A)(1)

                             XIV.     Tenth Cause of Action–Disgorgement

118.     Plaintiff realleges and incorporates by reference the allegations contained in foregoing

   paragraphs. Defendants, and each one of them, engaged in conduct described above, directly

   or indirectly.

119.     Black’s Law Dictionary defines disgorgement as “The act of giving up something (such

   as profits illegally obtained) on demand or by legal compulsion.”

120.     Defendants illegally obtained $100,000.00 from Plaintiff through manipulative tactics

   which induced Plaintiff to tender the payments.

121.     Because Defendants did not produce any substantial results and merely took the

   $100,000.00 under the guise of procuring funds, they must give Plaintiff the money back.

122.     Defendants were not authorized to receive the two payments of fifty thousand dollars

   each, made on behalf of Sigma, with moneys owned by Sigma, because the Defendants

   induced the Plaintiff to make these payments under false pretenses, assurances and

   guarantees that these payments were being made towards Defendants efforts to raise funding

   for the Plaintiff’s project—as evident from the facts in section V, the Defendants never had

   any intentions of making any efforts to raise the fund, in fact, they engaged in an elaborate

   fraudulent scheme to deprive the Plaintiff of possession of the $100,000.

123.     Plaintiff alleges that Defendants:

            (1) made material representations to the Plaintiff. Defendants’ representations that

                funding was a “done deal” and that Defendants had lined up a number of solid




                                                                                                   50
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 51 of 57




        funding sources was material to the success of the business venture Plaintiffs

        required funding for;

     (2) representations made by Defendants were false. The material representations,

        regarding the status of the funding through a number of allegedly “solid sources”

        made by Defendants’ were false, because when the Plaintiff inquired, by placing a

        phone call to Madison Capital, as to the status of funding progress with Madison

        Capital for Plaintiff’s project, the Plaintiff was informed that the Defendants’ had

        made no contacts with Madison Capital regarding the funding of the Plaintiff’s

        project. In fact, Plaintiff was advised that Madison Capital hadn’t even heard of

        the Defendants. In addition, Madison Capital explained to the Plaintiff that the

        way it was set up regarding potential projects they might be interested in, Texas

        did not fall within that model—they were mainly interested in local New York

        City business ventures;

     (3) when the Defendants made representation to Plaintiff, the Defendants knew they

        were making false representations and made these representations recklessly

        without any knowledge of the truth and Defendants made these representation as a

        positive assertion, because when the Defendants claimed, on behalf of Madison

        Capital that they were interested in Plaintiff’s project, they never bothered to

        research or inquire with Madison Capital whether they would even be interested

        in a project located outside of New York City—all they had to do was call

        Madison Capital, or research the ongoing projects Madison Capital was involved

        in to see whether they are an entity which funds projects located in the Southern

        Unites States;



                                                                                         51
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 52 of 57




     (4) Defendants made these representations with the intent that the Plaintiff should act

        upon these representations, Defendants did so because they wanted the Plaintiff to

        get even deeper involved with their project; specifically, with the purchase of the

        land parcels, so that the Plaintiff would feel pressured to continue to make

        additional payments to the Defendants, in hopes of getting the project funded;

        especially, because of increasing difficulties to walk away from the project, since

        the Plaintiff would have been committed to purchasing the land parcels;

     (5) Plaintiff acted in reliance on the representations made by the Defendants, because

        based on the representations made by the Defendants, Plaintiff continued to spend

        time and funds on the project, feeling confident due to the representations made

        by the Defendants that the project’s funding was a “done deal;”

     (6) Plaintiff suffered injury as a result, because Plaintiff lost a hundred thousand

        dollars to the Defendants and suffered addition financial losses due to the failure

        of the project Plaintiff had spent time and money on.

     (7) That the Defendants had discussed the Plaintiff's project with numerous lenders in

        New York and Texas and investments banks, when the Defendants had made no

        such efforts.

     (8) That the Defendants had arranged for funding through lenders he had prior

        interactions and relations with when in fact there were no lenders with whom the

        Defendants had made funding arrangements with.

     (9) In initial phone conferences with Defendants Epshteyn and Tammaro in the Fall

        of 2014 the project was discussed in much detail; in each of those discussions, the




                                                                                         52
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 53 of 57




                Plaintiff raised concerns regarding the potential difficulties of receiving sufficient

                funding for its project through the Defendants’ efforts and sources.

                XV.     Eleventh Cause of Action– Restitution and Unjust Enrichment

124.     Plaintiff realleges and incorporates by reference the allegations contained in foregoing

   paragraphs. Defendants, and each one of them, engaged in conduct described above, directly

   or indirectly.

125.     Restitution is also known unjust enrichment. Black’s Law Dictionary states:

                Instances of unjust enrichment typically arise when property is
                transferred by an act of wrongdoing (as by conversion or breach of
                fiduciary duty), or without the effective consent of the transferor
                (as in a case of mistake), or when a benefit is conferred
                deliberately but without a contract, and the court concludes that the
                absence of a contract is excusable — as when the benefit was
                provided in an emergency, or when the parties once seemed to
                have a contract but it turns out to be invalid… The resulting claim
                of unjust enrichment seeks to recover the defendant's gains.

126.     Defendants illegally obtained $100,000.00 from Plaintiff through manipulative tactics

   which induced Plaintiff to tender the payments.

127.     Because Defendants did not produce any substantial results and merely took the

   $100,000.00 under the guise of procuring funds, they must give Plaintiff the money back.

128.     Defendants were not authorized to receive the two payments of fifty thousand dollars

   each, made on behalf of Sigma, with moneys owned by Sigma, because the Defendants

   induced the Plaintiff to make these payments under false pretenses, assurances and

   guarantees that these payments were being made towards Defendants efforts to raise funding

   for the Plaintiff’s project—as evident from the facts in section V, the Defendants never had

   any intentions of making any efforts to raise the fund, in fact, they engaged in an elaborate

   fraudulent scheme to deprive the Plaintiff of possession of the $100,000.



                                                                                                   53
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 54 of 57




129.     Plaintiff alleges that Defendants:

            (1) Made material representations to the Plaintiff. Defendants’ representations that

                funding was a “done deal” and that Defendants had lined up a number of solid

                funding sources was material to the success of the business venture Plaintiffs

                required funding for;

            (2) Representations made by Defendants were false. The material representations,

                regarding the status of the funding through a number of allegedly “solid sources”

                made by Defendants’ were false, because when the Plaintiff inquired, by placing a

                phone call to Madison Capital, as to the status of funding progress with Madison

                Capital for Plaintiff’s project, the Plaintiff was informed that the Defendants’ had

                made no contacts with Madison Capital regarding the funding of the Plaintiff’s

                project. In fact, Plaintiff was advised that Madison Capital hadn’t even heard of

                the Defendants. In addition, Madison Capital explained to the Plaintiff that the

                way it was set up regarding potential projects they might be interested in, Texas

                did not fall within that model—they were mainly interested in local New York

                City business ventures;

            (3) when the Defendants made representation to Plaintiff, the Defendants knew they

                were making false representations and made these representations recklessly

                without any knowledge of the truth and Defendants made these representation as a

                positive assertion, because when the Defendants claimed, on behalf of Madison

                Capital that they were interested in Plaintiff’s project, they never bothered to

                research or inquire with Madison Capital whether they would even be interested

                in a project located outside of New York City—all they had to do was call



                                                                                                 54
Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 55 of 57




        Madison Capital, or research the ongoing projects Madison Capital was involved

        in to see whether they are an entity which funds projects located in the Southern

        Unites States;

     (4) Defendants made these representations with the intent that the Plaintiff should act

        upon these representations, Defendants did so because they wanted the Plaintiff to

        get even deeper involved with their project; specifically, with the purchase of the

        land parcels, so that the Plaintiff would feel pressured to continue to make

        additional payments to the Defendants, in hopes of getting the project funded;

        especially, because of increasing difficulties to walk away from the project, since

        the Plaintiff would have been committed to purchasing the land parcels;

     (5) Plaintiff acted in reliance on the representations made by the Defendants, because

        based on the representations made by the Defendants, Plaintiff continued to spend

        time and funds on the project, feeling confident due to the representations made

        by the Defendants that the project’s funding was a “done deal;”

     (6) Plaintiff suffered injury as a result, because Plaintiff lost a hundred thousand

        dollars to the Defendants and suffered addition financial losses due to the failure

        of the project Plaintiff had spent time and money on.

     (7) That the Defendants had discussed the Plaintiff's project with numerous lenders in

        New York and Texas and investments banks, when the Defendants had made no

        such efforts.

     (8) That the Defendants had arranged for funding through lenders he had prior

        interactions and relations with when in fact there were no lenders with whom the

        Defendants had made funding arrangements with.



                                                                                         55
       Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 56 of 57




             (9) In initial phone conferences with Defendants Epshteyn and Tammaro in the Fall

                 of 2014 the project was discussed in much detail; in each of those discussions, the

                 Plaintiff raised concerns regarding the potential difficulties of receiving sufficient

                 funding for its project through the Defendants’ efforts and sources.

130.     Thus, Defendants through their manipulative tactics and concocting falsities induced

   Plaintiff to tender to them a sum of $100,000.00 and in return offered no compensation.

   Defendants must return the $100,000 because if they do not do so they will have been

   unjustly enriched.

                                             XVI.      PRAYER

         WHEREFORE, the Plaintiff requests that the Defendants be cited to appear, and that on

         final hearing of this cause the Plaintiff have judgment as follows:

   1. Damages in the amount of $100,000.00, which it was delivered at the time of the

         contract, a sum that is within the jurisdiction limits of the court.

   2. Exemplary damages in the amount of at least $200,000.00, which is twice the amount of

         the Plaintiff’s economic damages.

   3. Post judgment interest at the rate permitted by law on actual and exemplary damages

         until the judgment is paid.

   4. Court costs and reasonable attorney’s fees, expert witness fees, and costs for copies of

         depositions.

   5. Pre-judgment interest at the highest rate allowed by law.

   6. Other and further relief to which the Plaintiff may be justly entitled.

                                                 Jury Demand

         Plaintiff respectfully demands a trial by jury.



                                                                                                    56
    Case 4:16-cv-02555 Document 11 Filed on 09/08/16 in TXSD Page 57 of 57




                                                            Respectfully submitted,

                                                            Azhar Chaudhary Law Firm, PC

                                                            /s/ Azhar Chaudhary
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                                                            State Bar No. 24082804

                                                            /s/ Alfred Valdez
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                                                            /s/ Zack Huang
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have electronically submitted for filing a true and correct copy of
the above and foregoing Plaintiff’s First Amended Complaint, in accordance via the CM/ECF of
the Southern District of Texas, on 8 September 2016 to:

Christopher R Murray
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Michael D. Fritz
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                                             /s/Azhar Chaudhary
                                             Azhar Chaudhary

                                             /s/ Alfred Valdez
                                             Alfred R. Valdez, Of Counsel

                                             /s/ Zack Huang
                                             Zack S. Huang. Of Counsel




                                                                                               57
